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Mississippi
Cumulative Folders
and
Permanent Records

Manual of Directions

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Carey M. Wright, Ed.D.,
State Superintendent of Education

EXHIBIT

J

 

Office of Accreditation
Jo Ann Malone, Ed.D.,
Executive Director

Revised Edition, 2017

 
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ACKNOWLEDGEMENTS

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PREFACE

Student records are collected, maintained, and disseminated as required by Sections
37-15-1 through 37-15-3, Mississippi Code of 1972, as amended, the Family
Educational Rights and Privacy Act of 1974, as amended, 20 USC Section 1231, and
the Confidentiality Section of the Individuals with Disabilities Act, 1997 Amendments.

This manual has been prepared for the use by administrators, counselors, teachers,
and other authorized staff in the schools of Mississippi and is to be used as a guide in
completing the cumulative folders and permanent records as required by Mississippi

law. Sections | and VI include the pertinent State and Federal education laws. Sections
II, Ill, IV, and V provide specific information concerning the completion and use of the

cumulative folder and permanent record.

Copies may be downloaded from the Mississippi Department of Education’s web site:
http://www.mde.k12.ms.us/accred

 
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SECTION |
MISSISSIPPI LAW REQUIRES CUMULATIVE FOLDER AND
PERMANENT RECORD

The law requiring the cumulative folder and the permanent record has been in effect
since July 1, 1954.

A. Maintenance of permanent records and cumulative folders for pupils;
requirement of certified birth certificate or other evidence of age
[Miss. Code Ann. § 37-15-1]

The State Board of Education shall prepare and provide necessary forms for keeping
permanent records and cumulative folders for each pupil in the public schools of the state.
In the permanent record and cumulative folders, the teachers and principals shall

keep information concerning the pupil’s date of birth, as verified by the documentation
authorized in this section, record of attendance, grades and withdrawal from the school,
including the date of any expulsion from the school system and a description of the
student’s act or behavior resulting in the expulsion. The records also shall contain
information pertaining to immunization and such other information as the State Board of
Education may prescribe. The cumulative folder, in addition to that information
maintained in the permanent records, also shall contain such other information as the
State Board of Education shall prescribe. It shall be the responsibility of the person in
charge of each school to enforce the requirement for evidence of the age of each pupil
before enrollment. If the first prescribed evidence is not available, the next evidence

obtainable in the order set forth below shall be accepted:
(a) A certified birth certificate;

(b) A duly attested transcript of a certificate of baptism showing the date of birth
and place of baptism of the child, accompanied by an affidavit sworn to by a

parent, grandparent or custodian;

 
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(c) An insurance policy on the child’s life which has been in force for at least two
(2) years;

(d) A bona fide contemporary Bible record of the child’s birth accompanied by an
affidavit sworn to by the parent, grandparent or custodian;

(e) A passport or certificate of arrival in the United States showing the age of the
child;

(f) A transcript of record of age shown in the child’s school record of at least four
(4) years prior to application, stating date of birth: or

(g) If none of these evidences can be produced, an affidavit of age sworn to by a
parent, grandparent or custodian. Any child enrolling in Kindergarten or Grade
| shall present the required evidence of age upon enrollment. Any child in
Grades 2 through 12 not in compliance at the end of sixty (60) days from

enrollment shall be suspended until in compliance.

SOURCES: Codes, 1942, § 6225-01; Laws, 1953, Ex Sess, ch. 24, § 1; Laws, 1974, ch. 451, § 1; Laws, 1980,
ch. 424, § 1; Laws, 1989, ch. 511, § 1; Laws, 1990, ch. 535, § 1; Laws, 1995, ch. 480, § 1; Laws, 2002, ch.
557, § 1; Laws, 2003, ch. 416, § 6; Laws, 2007, ch. 416, § 7; Laws, 2008, ch. 382, § 1; Laws, 2013, ch. 497
§ 61, eff from and after July 1, 2013.

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B. Storage of permanent records [Miss. Code Ann. § 37-15-2]

The permanent record provided for in Section 37-15-1 shall be kept, while it is active, in

the attendance center office in a fire resistant container.

The permanent record shall be considered active: (a) if the student is enrolled in the
school; or (b) if he has withdrawn or has been expelled and students of the class of

which he was a member shall not have reached the time of graduation.

At the point of the student’s graduation or at the time when the student would normally
have graduated had he not withdrawn or been expelled from school, the student's
permanent record shall become a part of the permanent binder in the central fire

resistant depository as designation and provided by the school board of the school

 
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district, or, as an alternative method, the records may be maintained in fire resistant
storage at the school last attended by the student. The permanent binding and
preservation of the inactive records shall be the duty of the superintendent of the school

district who shall maintain a central depository of the records.

SOURCES: Laws, 1974, ch. 451 § 2; Laws, 1980, ch. 424, § 2; Laws, 1986, ch. 492, § 88; Laws,
1995, ch. 480, § 2; Laws, 2014, ch. 442, § 3, eff from and after passage (approved March 26, 2014.)

C. Storage of cumulative folders; access to records; disposition of records upon
transfer of students between schools; destruction of records
[Miss. Code Ann. § 37-15-3]

Such cumulative folders as are provided for in Section 37-15-1 shall be kept in the school
wherein the pupils are in attendance. Both the permanent records and the cumulative
folders shall be available to school officials, including teachers within the school district
who have been determined by the school district to have legitimate educational interests.
In no case, however, shall such records be available to the general public. Transcripts of
courses and grades may be furnished when requested by the parent or guardian or
eligible pupil as prescribed in the Family Educational Rights and Privacy Act of 1974, as
amended, 20 USC Section 1232. Such records shall be kept for each pupil throughout
his entire public school enrollment period. In the event a pupil transfers to a public school,
then the cumulative folder shall be furnished to the head of the school to which the pupil
transfers; if a pupil transfers to a private school, then a copy of the cumulative folder shall
be furnished to the head of the school to which the pupil transfers. The permanent record

shall be kept permanently by the school district from which the pupil transferred.

At no time may a permanent record of a student be destroyed, but cumulative folders
may be destroyed by order of the school board of the school district in not less than five
(5) years after the permanent record of the pupil has become inactive and has been
transferred to the central depository of the district. Provided, however, that where a
school district makes complete copies of inactive permanent records on photographic

film or microfilm which may be reproduced as needed, such permanent records may be

 
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destroyed after the photographic film or microfilm copy has been stored in the central

depository of the district.

SOURCES: Codes, 1942, § 6225-02; Laws, 1953, Ex Sess, ch. 24, § 2; Laws, 1954, ch. 266; Laws, 1974,
ch. 451, § 3; Laws, 1980, ch. 424, § 3; Laws, 1986, ch. 492, § 89; Laws, 1995, ch. 480, § 3; Laws, 2009, ch.
444, § 1; Laws, 2013, ch. 497, § 62, eff from and after July 1, 2013.

D. Maintenance of continuing census [Miss. Code Ann. § 37-15-7]

In addition to the cumulative records provided for in section 37-15-1, there shall be kept
a continuing census of all children below the age of nineteen within each school district.
Such record shall be kept as a part of the permanent office records of the superintendent
of the district.

SOURCES: Laws, 1974, ch. 451 § 4; Laws, 1986, ch. 492, § 90, eff from and after July 1, 1987

E. Requirements for enrollment of children in public schools [Miss. Code Ann. §
37-15-9]

(1) Except as provided in subsection (2) and subject to the provisions of subsection (3)
of this section, no child shall be enrolled or admitted to any kindergarten which is a part
of the free public school system during any school year unless such child will reach his
fifth birthday on or before September 1 of said school year, and no child shall be enrolled
or admitted to the first grade in any school which is a part of the free public school system
during any school year unless such child will reach his sixth birthday on or before
September 1 of said school year. No pupil shall be permanently enrolled in a school in
the State of Mississippi who formerly was enrolled in another public or private school
within the state until the cumulative record of the pupil shall have been received from the
school from which he transferred. Should such record have become lost or destroyed,
then it shall be the duty of the superintendent or principal of the school where the pupil

last attended school to initiate a new record.

(2) Subject to the provisions of subsection (3) of this section, any child who transfers from
an out-of-state public or private school in which that state’s law provides for a first-
grade or kindergarten enrollment date subsequent to September 1, shall be allowed to

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enroll in the public schools of Mississippi, at the same grade level as their prior out-of-

state enrollment, if:

(a) The parent, legal guardian or custodian of such child was a legal resident of

the state from which the child is transferring;

(b) The out-of-state school from which the child is transferring is duly
accredited by that state’s appropriate accrediting authority;

(c) Such child was legally enrolled in a public or private school for a minimum

of four (4) weeks in the previous state; and

(d) The superintendent of schools in the applicable Mississippi school district
has determined that the child was making satisfactory educational progress

in the previous state.

(3) When any child applies for admission or enrollment in any public school in the state,
the parent, guardian or child, in the absence of an accompanying parent or guardian,
shall indicate on the school registration form if the enrolling child has been expelled

from any public or private school or is currently a party to an expulsion proceeding. If it
is determined from the child’s cumulative record or application for admission or
enrollment that the child has been expelled, the school district may deny the student
admission and enrollment until the superintendent of the school, or his designee, has
reviewed the child’s cumulative record and determined that the child has participated in
successful rehabilitative efforts including, but not limited to, progress in an alternative
school or similar program. If the child is a party to an expulsion proceeding, the child
may be admitted to a public school pending final disposition of the expulsion proceeding.
lf the expulsion proceeding results in the expulsion of the child, the public school may
revoke such admission to school. If the child was expelled or is a party to

an expulsion proceeding for an act involving violence, weapons, alcohol, illegal drugs or
other activity that may result in expulsion, the school district shall not be required to grant
admission or enrollment to the child before one (1) calendar year after the date of

expulsion.

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SOURCES: Codes, 1942, § 6225-03; Laws, 1953, Ex Sess, ch. 24, § 3; Laws, 1976, ch. 390, § 1; Laws,
1986, ch. 464; Laws, 1987, ch. 315; Laws, 1994, ch. 607, § 19; Laws, 2003, ch. 397, § 2; Laws, 2013, ch.
497, § 64; Laws, 2014, ch. 442, § 4; Laws, 2014, ch. 491, § 10, eff from and after passage (approved April
15, 2014.)

F. Immunization practices for control of vaccine preventable diseases;

attendance by unvaccinated children [Miss. Code Ann. § 41-23-37]

Whenever indicated, the state health officer shall specify such immunization practices
as may be considered best for the control of vaccine preventable diseases. A listing

shall be promulgated annually or more often, if necessary.

Except as provided hereinafter, it shall be unlawful for any child to attend any school,
kindergarten or similar type facility intended for the instruction of children (hereinafter
called "schools"), either public or private, with the exception of any legitimate home
instruction program as defined in section 37-13-91, Mississippi Code of 1972, for ten
(10) or less children who are related within the third degree computed according to the
civil law to the operator, unless they shall first have been vaccinated against those

diseases specified by the state health officer.

A certificate of exemption from vaccination for medical reasons may be offered on behalf
of a child by a duly licensed physician and may be accepted by the local health officer

when, in his opinion, such exemption will not cause undue risk to the community.

Certificates of vaccination shall be issued by local health officers or physicians on forms
specified by the Mississippi State Board of Health. These forms shall be the only
acceptable means for showing compliance with these immunization requirements, and

the responsible school officials shall file the form with the child's record.

If a child shall offer to enroll at a school without having completed the required
vaccinations, the local health officer may grant a period of time up to ninety (90) days
for such completion when, in the opinion of the health officer, such delay will not cause
undue risk to the child, the school or the community. No child shall be enrolled without

having had at least one (1) dose of each specified vaccine.

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Within thirty (30) days after the opening of the fall term of school (on or before October

1 of each year) the person in charge of each school shall report to the county or local
health officer, on forms provided by the Mississippi State Board of Health, the number of
children enrolled by age or grade or both, the number fully vaccinated, the number in
process of completing vaccination requirements, and the number exempt from vaccination

by reason for such exemption.

Within one hundred twenty (120) days after the opening of the fall term (on or before
December 31), the person in charge of each school shall certify to the local or county
health officer that all children enrolled are in compliance with immunization

requirements.

For the purpose of assisting in supervising the immunization status of the children the
local health officer, or his designee, may inspect the children’s records or be furnished

certificates of immunization compliance by the school.

It shall be the responsibility of the person in charge of each school to enforce the
requirements for immunization. Any child not in compliance at the end of ninety (90)
days from the opening of the fall term must be suspended until in compliance, unless
the health officer shall attribute the delay to lack of supply of vaccine or some other

such factor clearly making compliance impossible.

Failure to enforce provisions of this section shall constitute a misdemeanor and upon

conviction be punishable by fine or imprisonment or both.

SOURCES: Laws, 1978, ch. 530, 1; 1983, ch. 522, Sec. 9, eff from and after July 1, 1983.

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SECTION Il
THE CUMULATIVE FOLDER

A. Purpose of the cumulative folder

The cumulative folder is a record developed to assist in the student’s educational
growth and progress. The teacher and other school personnel use it as a tool for
student guidance and the improvement of instruction. A well-developed cumulative

folder may afford a teacher an opportunity to analyze students’ school history, test

scores, and rate of growth so that a proper course of action for helping the student can
be determined. The cumulative folder is only as useful as the quality of data entered.
The Special Education record is an essential part of the cumulative folder and must be

maintained accordingly with all security and confidentiality requirements.

B. Required information in the cumulative folder

Required information includes date of birth, record of attendance, grades and withdrawal
from school, date of expulsion, act or behavior resulting in expulsion, immunization, and
any other information required by school board policies or prescribed by the State Board

of Education.

C. Individual responsible for the cumulative folder

The principal is responsible for supervising the proper maintenance of cumulative folders
even though he/she may delegate responsibility to other personnel. The principal is
ultimately responsible for maintaining security, confidentiality, and accuracy of student
records. The cumulative folder for each student shall be kept in the school where the
student is enrolled. Files containing cumulative folders shall be placed so that security
is unquestionable, yet accessibility to teachers and other designated personnel is

assured. The cumulative folder is a confidential document and is to be treated as such.

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D. Access to cumulative folders

The school shall keep a current list of employees by name and position who are
authorized to have access to cumulative folders. This list of current employees must be
available for public inspection. Each school will keep a list of the names of individuals
granted access to the cumulative folder, date on which the person viewed the cumulative
folder, and for what purpose. This rule does not apply to parents or authorized employees
of the agency. If a non-custody parent requests information concerning his/her child's
records, the school district would be permitted to provide such records in the absence of

a court order terminating the parental right. (See Appendix A.)
E. Requesting the cumulative folder

Document efforts to gather required information needed to complete the cumulative folder
and use all available information (report cards, copy of permanent record, etc.). If the
cumulative folder has been lost or destroyed, then it is the duty of the superintendent or
principal of the school where the pupil last attended school to initiate a new cumulative

folder.

F. Transferring the cumulative folder

Transferring the cumulative folder to a public school in-state

The cumulative folder follows the student and may not be held for any reason,
including fees and fines owed to the school. The cumulative folder must be
forwarded promptly upon request. The cumulative folder of a student transferring
to aschool within a district follows the student. When a student transfers to another
public school and an official request is made, the cumulative folder shall be
furnished to the head of the school to which the student transfers. When the

agency or institution includes a notice in its policies and procedures (formulated

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under the Family Educational Rights and Privacy Act of 1974) that it forwards
education records on request to a school in which a student seeks or intends to
enroll, the agency or institution does not have to provide any further notice of the

transfer.

Transferring the cumulative folder to a private school or non-public
accredited school

If the student transfers to a private school or non-public accredited school, a copy
of the cumulative folder shall be furnished to the head of the school to which the
student transfers. The regulation applies whether the student is transferring to a

school in or out of the State of Mississippi.

Transferring the cumulative folder out-of-state
lf the student transfers to a public or private school out of the state, a copy of the
cumulative folder shall be furnished to the head of the school to which the student

transfers.

G. Storage of the cumulative folder

Cumulative folders must be kept in a secure, fire resistant location. There is no
requirement to store the cumulative folder and permanent record in two separate
locations. This is based on local district policy. Some schools keep both records
together and some keep them separate. For security, it is recommended that the

cumulative folder be kept in a separate location.

H. Destroying the cumulative folder

The cumulative folder may be destroyed by order of the school board of the school
district in not less than five (5) years after the permanent record of the student has
become inactive and has been transferred to the central depository of the district.

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|. Recording data on the cumulative folder

All information should be typed or recorded in permanent black ink except addresses,

telephone numbers, and transfer of attendance, which should be written in pencil.

J. Making corrections or covering up labels on the cumulative folder

When any change or correction is made on the cumulative folder, draw a line through
the incorrect information, record the correct information, and initial the correction.
Correction fluid is not to be used. Do not place a new label on top of an existing label.
Never remove or cover up any data that has been recorded on the student’s cumulative
folder. Always document the date and reason for making a correction and include the
name or initials of the person who changed the data. If necessary, include a written

description of the details concerning a change of grades.

K. Maintenance of cumulative folders when a school closes

Cumulative folders of any school (public or nonpublic) that closes are transferred to the

central depository of the school district wherein the closed school is located.

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SECTION lil
RECORDING INFORMATION ON THE CUMULATIVE FOLDER

A. Personal and Family Data
Name
Print or type the full name copied from the certified birth certificate or other
prescribed evidence established in Miss. Code Ann. § 37-15-1.

Certified Birth Certificate Number

Record and properly identify all numbers (such as State no., State file no., and
Registrar no.) found on the certified birth certificate. If not numbered, record and
categorize any identifying information that is on the certificate. If the certified birth
certificate is not available, record and identify the type of evidence used to verify
date of birth.

Birth certificate means a certificate issued by the Bureau of Vital Statistics. The
school is not required to keep the certified copy of the birth certificate. Keeping a
copy of the birth certificate in the student’s cumulative folder for future reference is

based on local district policy.

Verification Initials
The school official who is responsible for verifying the information on the birth

certificate or other evidence used for verification should initial this section.

MSIS ID Number
Record the MSIS ID Number.

Social Security Number

This information is optional. Copy the student's social security card if the school

decides to include this information.

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Hispanic/Latino Ethnicity
Check Yes or No on the revised cumulative folder.

Race
Record race using the following abbreviations

for the various classifications:

NA American Indian or Alaska Native

AS Asian

B Black or African American

P| Native Hawaiian or Other Pacific Islander
W_ White

H Hispanic or Latino or Spanish

TM Two or More Races

Sex
Record M for male or F for female.

Place of Birth
Record City, County, and State.

Date of Birth
Record Month, Day, and Year.

Address and Telephone Number

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Record this information in pencil and keep it current.

Father, Mother, and/or Guardian

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Record full name of father and mother to include mother’s maiden name. Record

legal guardian’s name, if applicable.

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Name: Certified Birth Certificate File No.: Verified By:
(Last) (First) (Middle) (Initials)
Place of Birth: Date of Birth:
(City) (County) (State) (Mo.} (Day) (Year}
Social Security No.: MSIS No.: Race:____ Sex:__ Hispanic/Latino Ethnicity: Yes ___ No
Address Phone Address Phone Father

 

Mother (Maiden Name)

 

 

 

 

 

 

Guardian

 

B. Entrance Record
Record the date, grade level, and school name and address. No other entry will be
made to the entrance record until the student transfers to another school or re-enters
the same school after withdrawal. Use State Codes listed in Appendix B to indicate
the reason for entry. (See Part L regarding additional form if needed for recording
data.)

C. Withdrawal Record
Record the date and grade level when the student withdraws from school. Use State
Codes listed in Appendix B to indicate the reason for withdrawal. (See Part L

regarding additional form if needed for recording data.)

D. Record of Transfer
When the student’s cumulative folder is requested, record the date and name and

address of the school to which the cumulative folder is sent. Use State Codes listed
in Appendix B to indicate the reason for the transfer. To mail the cumulative folder,

use a large envelope with a metal clasp (10I| X 13ll). The written consent of the

eligible student is not required if the school district includes a notice of its policies
and procedures developed under Section 99.5 of the Family Education Rights and
Privacy Act that indicates the district forwards education records to a school on

request. (See Part L regarding additional form if needed for recording data.)

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ENTRANCE RECORD WITHDRAWAL RECORD OF TRANSFER
RECORD
Date Gr. Name and Address of School Date Gr. State Date Name and Address of School
Code
ENTRY CODES WITHDRAWAL CODES
E1 First regular enroliment this year TL Transfer to another grade in this school
E2 Transfer from another grade in this school T2 Transfer to another school in this district
E3 Transfer from another school in this district T3 Transfer to another public school in Mississippi
£4 Transfer from another public school in Mississippi T4 Transfer to a nonpublic school in Mississippi
ES Transfer from a nonpublic school in Mississippi 5 Transfer to another state or country
E6 Transfer from another state or country 6 Transfer to another room within school (same grade)
E7 Transfer within school (same grade) T7 Transfer to an approved community-based GED program
E8 Transfer from an approved community-based GED program T8 Transfer to home school
EQ Transfer from home school ci Completers-High School Graduates (Diploma)
R1 Re-entries of withdrawals c2 Completers-Other High School Graduates
(Certificates/GED)
DROPOUTS
01 Physical illness or physical disability 11 Over compulsory attendance age
02 Drug and/or alcohol problems 12 Entered a GED program or an institutional program not primarily educational
03 Emotional disturbances 13 Lack of parental support/interest
04 Behavioral difficulty exclusive of 14 Must care for family member
suspension/expulsion 15 Economic reasons
05 Suspended/Expelled 16 Married
06 Restrained by court action 17 Pregnant
07 Would/could not keep up with work/was failing 18 Whereabouts unknown
08 Peer pressure 19 Reason unknown
09 Felt | did not belong 20 Other (Specify)
10 Disliked school experience 21 Death of pupil
E. Attendance Record

At the end of the school year, transfer from the register or school enrollment database,

the days absent and the chief cause of absence. When a student transfers to another

school during the school year, use a pencil for recording attendance data.

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ATTENDANCE RECORD

 

Grade Days Chief Cause of Absence
Absent

 

 

 

 

 

 

 

 

 

 

 

 

F. Standardized Test Record (Elementary and Secondary)
When standardized tests are administered, record the test scores on the cumulative
folder in the designated spaces. Begin recording elementary results on the inside of
the folder continuing on the outside for subsequent grade levels allowing for efficient
use of space. If space is insufficient, a school district may adopt and use an additional
form for recording test scores. (Also see Part L regarding additional form

if needed for recording data.)

 

STANDARDIZED TEST RECORD, ELEMENTARY AND SECONDARY

 

 

 

 

 

 

G. Elementary School Progress (Grades Pre-K to 6)
To complete the cumulative folder, record the year, number of days school is in
session, the grade level in which the student is enrolled, and grades assigned to the |
student in the various subjects. The area designated for passing marks should be
completed (e.g., Satisfactory (S), Unsatisfactory (U), 1-100, A-F). If the student
transfers before the end of the semester, the grades should not be entered, but a
written evaluation of the student’s work, or report card, should be placed in the

cumulative folder.

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The subjects listed on the far left of the cumulative folder are designated for pre-
kindergarten and kindergarten. (Record pre-kindergarten if applicable.) The
subjects listed to the left of the first grade column pertain to the remaining
elementary grades. Record student's grades starting with first grade in the spaces
to the right of the subject’s column. Continue recording grades in this section

through the sixth grade.

Special codes, such as grade level (GL), below grade level (BGL), etc., may be used
for the gifted, special education, etc. Promotion shall be indicated (with yes or no);
the name of the teacher responsible for completing the cumulative folder shall be

indicated; and the name of the school at the end of the school year shall be

recorded.

ARY PRE-KTO

 

sem | det | Sed | Soe | tert | Bae foto fo fene | dere | fey | tere | tem | tect | tem | Saw ] sate | See | tem

H. Significant Facts (by counselor, principal, or teacher)
Record the date, grade level, current age, and name of counselor, principal or teacher
making the entry. Only documented information should be recorded. Expulsion shall

be documented. Record the date of expulsion and description of the

23

 
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behavior or act resulting in the expulsion. Any additional information concerning

disciplinary action should be based on local district policy. [Miss. Code Ann. § 37-15-

6] (See Part L regarding additional form if needed for recording data.)

SIGNIFICANT FACTS (By: Counselor, Principal, or Teacher) INCLUDING EXPULSIONS, AS REQUIRED BY MISSISSIPPI CODE SECTION 37-15-1 AND 37-15-6 AS AMENDED.

 

Date

Grade

Current
Age

Counselor,
Principal, or
Teacher

Duration
Date

Record only facts which can be documented

YAMUNDATION CERTIFICATE OF COMPUANCE

 

DATE OF COMPLIANCE:

 

Verified by: (Initials)

 

MEDICAL INFOaMATION

 

 

 

 

 

 

CONDITION Xe. CONDITION Yr.
Aramis Asthins

Diabetes Allergy

Epttepsy Rheumatic Fever
Tuberculosis Hearing

Vision: Other

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DIRECTIONS FOR CUMULATIVE FOLDER

1. Print of type name and birth date as shown on the
birth certificate.

2, The cumulative folder ts kept in the school where
the pupil is in attendance.

3. Whena pupil transfers to another schoo), the
cumulative folder shall be furnished to the head
of tha school to which the pupil transfers.

A, Release of pupil information shall bein
accordance with the Family Rights and Privacy
Acts of 1974, as amended.

 

I. The Immunization Certificate of Compliance
This information must be obtained from the parent(s) at the time the student enrolls.

Immunization Certificate of Compliance is issued by the local health officers or physicians on
forms specified by the Mississippi State Board of Health. These forms shall be the only

acceptable means for showing compliance. The appropriate school official shall write the date

of immunization compliance on the cumulative folder, initial verification, and file the certificate in

the student's cumulative folder. If the temporary certificate of compliance is received, record no

data.

compliance according to the date designated on the temporary certificate.

It is the parent’s responsibility to secure and present the permanent certificate of

certificates for pre-kindergarten and kindergarten students will be the same as those for six-
year-old students. [Miss. Code Ann. § 41-23-37]

J. Medical Information
This information should be obtained from the parents at the time the student enrolls

and should be kept current.

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Compliance

 
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. Secondary School Progress (Grades 7-12)

Subjects for each grade level should be listed. This also includes courses a student
takes through distance learning, correspondence, or a virtual school program for
Carnegie unit credit. Once a student remains enrolled in a course following the
drop/add period, the student will receive a grade for the course. Courses dropped
after the course withdrawal deadline will still appear on the student's official

transcript.

Record name of school, grade level, year, number of days in school session, subjects,
teachers, semester grades, year average, and credit earned when courses have been
completed. If a student transfers before the end of the semester, the

grades should not be entered, but a written evaluation of the student's work or a

report card should be included in the cumulative folder.

If a student demonstrates proficiency in Keyboarding and/or Computer Applications,
student demonstrated proficiency must be recorded on the secondary portion of the
cumulative folder. (See the current guidelines for demonstrating proficiency.) In the

column indicating the amount of credit earned, record the letter —Pll for proficiency.

If a student attends summer school or takes a correspondence course, record date,

school, subjects and grades in the summer school (S.S.) section.

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SECONDARY SCHOOL PROGRESS

Teachers

Teachers

 

L. Additional Form for Recording Data
Information should be carefully placed on the cumulative folder to maximize the space.
If space is insufficient for recording entrance/withdrawal/transfer data, test data,
and/or significant facts, the district may use the additional form for recording data or a
page of heavy card stock that is properly labeled. This form/page should
be added to the student’s cumulative folder only when space on the folder is
insufficient.

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SECTION IV
THE PERMANENT RECORD

A. Purpose of the permanent record
Permanent records are kept in perpetuity for every person who has enrolled or is
enrolled in a school. The permanent record is the legal school record for the student.

This document contains most of the information recorded on the cumulative folder.

B. Storage of the permanent record

The permanent record must be kept, while it is active, in the attendance center office in
a secure and fire-resistant container or location. The permanent record shall be
considered active (a) if the student is enrolled in the school or (b) if the student has
withdrawn and the students of the class of which the student was a member have not
reached the time of graduation. There is no requirement to store the cumulative folder
and permanent record in two separate locations. This is based on local district policy.
Some schools keep both records together and some keep them separate. For security,

it is recommended that the permanent record be kept in a separate location.

C. Maintenance of the permanent record when a student transfers

In the event a student transfers to another school district, the permanent record shall be
kept permanently by the school district from which the student transferred. Only the
cumulative folder goes with the student when he or she transfers. The permanent record
of a student transferring from one school to another school within the same district shall
follow the student, as does the cumulative folder. Only when a student moves out of a
district does the school which the student last attended in that district retain the permanent
record. Photocopies printed on regular paper are not acceptable as substitutes for
permanent records. It is the responsibility of the receiving school to initiate a new

permanent record when the student enrolls.

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D. Maintenance of the permanent record when a student graduates

At the point of the student's graduation or at the time when the student would normally
have graduated if the student had not withdrawn from school, the student's permanent
record shall become a part of the permanent binder in the central fire resistant
depository as designated and provided by the board of trustees of the school district.
As an alternative method, such records may be maintained in a fire resistant storage at

the school last attended by the student.

E. Individual responsible for the preservation of the permanent record

The permanent binding and preservation of inactive records shall be the duty of the
superintendent of the school district who shall maintain a central depository of the
records. At the time that the superintendent shall resign or otherwise leave the district,
he/she shall account for and deliver the permanent record binders to the board of

trustees of his/her school district.

F. Microfilming, photographing, or scanning of the permanent record Permanent
records may be microfilmed, photographed, or scanned. When a school district makes
complete copies of inactive permanent records on photographic film or microfilm which
may be reproduced as needed, such permanent records may be destroyed after the
photographic film or microfilm copy has been stored in a central, fire- resistant depository
of the district. If the permanent record is filmed, care should be taken to ensure the highest
quality of filming, so that the film will produce a good readable permanent record. [Miss.
Code Ann. § 37-15-3]

G. Maintenance of permanent records when a school closes

Permanent records of any school (public or nonpublic) that closes are transferred to the

central depository of the school district wherein the closed school is located.

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SECTION V
RECORDING INFORMATION ON THE PERMANENT RECORD

The permanent record contains the legal name and address of the student, date of birth
as verified by birth certificate, courses taken and grades or proficiency level earned,
immunization record, date of withdrawal or graduation, social security number (optional),
record of performance on the required graduation tests, and any other information

determined by the State Board of Education.

A. Personal and Family Data
Name
Print or type the full name copied from the certified birth certificate or other

prescribed evidence established in Miss. Code Ann. § 37-15-1.

Certified Birth Certificate Number

Record and properly identify all numbers (such as State no., State file no., and
Registrar no.) found on the certificate. If not numbered, record and categorize any
identifying information that is on the certificate. If the certified birth certificate is not

available, record and identify the type of evidence used to verify date of birth.

Birth certificate means a certificate issued by the Bureau of Vital Statistics. The
school is not required to keep the certified copy of the birth certificate. Keeping a

copy of the birth certificate for future reference is based on local district policy.
Verification initials
The school official who is responsible for verifying the information on the birth

certificate should initial this section.

MSIS ID Number
Record the MSIS ID Number.

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Social Security Number
This information is optional. Copy the student’s social security card if the school

decides to include this information.

Hispanic/Latino Ethnicity
Check Yes or No on the revised permanent record.

Race

Record race using the following abbreviations for the various classifications:

NA American Indian or Alaska Native

AS. Asian

B Black or African American

P| Native Hawaiian or Other Pacific Islander
W_ White

H Hispanic or Latino or Spanish

TM Two or More Races

Sex
‘Record M for male or F for female.

Place of Birth
Record City, County, and State.

Date of Birth
Record Month, Day, and Year.

Address and Telephone Number
Record this information in pencil and keep it current.

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Father, Mother, and/or Guardian

Record full name of father and mother to include mother’s maiden name. Record

legal guardian’s name, if applicable.

 

 

Date of Birth: Social Security No.: MSIS No.: Name:
{Mo.) (Day) (Year) (Last) (First) (Middle)
Pupil’s Name: Certified Birth Certificate File No.: Verified by:
(Last) (First) (Middle) (Initiats)
Place of Birth: Date of Birth: Race:___Sex:__ Hispanic/Latino Ethnicity: Yes __—sNo
(City) {County} (State) (Mo.) (Day) (Year)
Address Phone Address Phone Father

 

 

Mother (Maiden Name)
Guardian

 

 

 

 

 

 

 

B. Entrance Record
Record date, grade level, school name and address. No other entry will be made to
the entrance record until the student transfers to another school or re-enters the same

school after withdrawal. Use State Codes listed in Appendix B to indicate the reason

for entry.

C. Withdrawal Record
Record the date and grade level when the student withdraws from school. Use

State Codes listed in Appendix B to indicate the reason for withdrawal.

D. Record of Transfer
When the student's record is requested, record the date, and school name and

address to which the record is sent. Use State Codes listed in Appendix B to indicate
the reason for the transfer. If the student transfers to another school within

the district, the permanent record will be sent with the cumulative folder. However, if
the student is transferring outside the district, the last school attended in the district
will keep the permanent record. The written consent of the eligible student is not
required if the school district includes a notice of its policies and procedures developed
under Section 99.5 of the Family Education Rights and Privacy Act that indicates the

district forwards education records to a school on request.

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ENTRANCE RECORD WITHDRAWAL RECORD RECORD OF TRANSFER
Date Grade Name and Address of Schoo! Date | Grade State Code Date Name and Address of School

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

E. Elementary School Progress (Grades Pre-K to 6)
Continue completing the permanent record by recording the year, number of days
school is in session, the grade level in which the student is enrolled, and grades
assigned to the student in the various subjects. The area designated for passing
marks should be completed (e.g., Satisfactory (S), Unsatisfactory (U), 1-100, A-F).

The subjects listed on the far left of the permanent record are designated for pre-
kindergarten and kindergarten. (Record pre-kindergarten if applicable.) The
subjects listed to the left of the first grade column pertain to the remaining
elementary grades. Record student's grades starting with first grade in the spaces
to the right of the subject’s column. Continue recording grades in this section

through the sixth grade.

Special codes, such as grade level (GL), below grade level (BGL), etc., may be used
for the gifted, special education, etc. Promotion shall be indicated (with yes or no);
the name of the teacher responsible for completing the permanent record shall be
indicated; and the name of the school at the end of the school year shall be recorded.

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PROGRESS PRE-KTO

2 3
ten poves f tem | tere Foden | Sen | came | tems | ter f dem | ten | feet | tem | tere fo some | Bare 7 seme | fem

 

F. Secondary School Progress (Grades 7-12)
Subjects for each grade level should be listed. This also includes courses a student
takes through distance learning, correspondence, or a virtual school program for
Carnegie unit credit. Once a student remains enrolled in a course following the
drop/add period, the student will receive a grade for the course. Courses dropped
after the course withdrawal deadline will still appear on the student's official transcript.

Record name of school, grade level, year, number of days in school session, subjects,
semester grades, year average, and credit when courses have been completed. Ifa
student transfers before the end of the semester, the grades should

not be entered, but a written evaluation of the student’s work or a report card should

be included in the cumulative folder.

If a student demonstrates proficiency in Keyboarding and/or Computer Applications,
student demonstrated proficiency must be recorded on the secondary portion of the
cumulative folder. (See the current guidelines for demonstrating proficiency.) !n the

column indicating the amount of credit earned, record the letter for proficiency.

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If a student attends summer school, or takes a correspondence course, record date,

school, subjects, and grades in the summer school (S.S.) section.

SECONDARY SCHOOL PROGRESS 7-

eachers i . ~ Teachers i

‘eachers

 

G. Attendance Record
At the end of the school year, record from the register or school enrollment database
the number of days absent.

 

ATTENDANCE RECORD
Grade Days Absent Grade Days Absent

 

 

 

 

 

 

 

 

 

 

 

 

H. Immunization Certificate of Compliance
This information must be obtained from the parents at the time the student enrolls.
Immunization Certificate of Compliance is issued by the local health officers or
physicians on forms specified by the Mississippi State Board of Health. These forms

shall be the only acceptable means for showing compliance. The appropriate school

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official shall write the date of immunization compliance on the permanent record and
initial verification. If the temporary certificate of compliance is received, record no
data. It is the parent's responsibility to secure and present the permanent certificate
of compliance according to the date designated on the temporary certificate.
Compliance certificates for pre-kindergarten and kindergarten students will be the

same as those for six-year-old students. [Miss. Code Ann. § 41-23-37]

 

IMMUNIZATION CERTIFICATE OF COMPLIANCE

Date of Compliance:

 

 

 

 

Verified by:
{Initials}

 

Medical Information
This information should be obtained from the parents at the time the student enrolls

and should be kept current.

 

MEDICAL INFORMATION

 

 

CONDITION Yr. CONDITION Yr.
Anemla Asthma
Diabetes Allergy

 

 

Epllepsy Rheumatic Fever
Tuberculosis Hearing
Vision Other

 

 

 

 

 

 

 

 

 

. Summary of High School Units

At the end of the school year, record the number of Carnegie units earned in each
subject. Record eighth grade unit(s) in the first blank column. At the bottom, total
the number of units earned each year. When the student completes requirements
for graduation, complete the total column at the right of the chart. This is a required

section to record all high school units.

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SUMMARY OF HIGH SCHOOL UNITS
Years
Subjects 1 2 3 4

English
Mathematics
Science

Soc, Studies
Health ~
Computer Edu.
The Arts
Vocational

Electives

 

K. Graduation Facts
When a student meets the required Carnegie units for graduation, complete the
Graduation Facts section. Record the month, day, and year the student graduated,
the student's class rank (if applicable), the number of students in the graduating
class, and the student's grade average based on the school district's point system.
lf a school district gives a special diploma or certificate for another program offered
by the school, complete only the month, day, and year the student completed the

other prescribed program. Do not include this student in the class rank.

The Principal’s original signature is required for verification. (A signature

stamp is not acceptable.)

 

GRADUATION FACTS
Completed Required Graduation Requirements
—_— Date
Ranked in class of with

grade average based on
point system.

 

Complete Other Prescribed Program
Date

 

 

 

Principal's Signature

 

L. Transcript of High School Record
A photocopy of the secondary side of the permanent record may serve as the
transcript for admission to colleges and universities. Transcripts of a record may be

mailed upon the written request of the student, the student’s parents, or the

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student’s legal guardian. Record the date and the name of the college, the
company, individual, etc., to which the transcript is sent in the designated space.

When a transcript is given to one party, it is not to be released to any other
party without written consent from the person named on the transcript. This
statement is included in compliance with the Family Educational Rights and Privacy

Act of 1974.

 

TRANSCRIPT OF HIGH SCHOOL RECORD
Sent to: Date:

 

 

 

 

 

 

 

 

 

. Record of Tests
Only test scores which are necessary or significant for college and vocational
planning in grades 7-12 should be recorded (e.g., PLAN, PSAT/NMSQT, SAT,

ACT).

 

RECORD OF TESTS SIGNIFICANT TO COLLEGE, VOCATIONAL, AND PLANNING IN GRADES 7-12

 

 

 

 

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APPENDIX A

8TH CASE of Level I Printed in FULL format
Office of the Attorney General of Mississippi
Slip Opinion
February 9, 1981

Re: Privacy of Student Records-Rights of Non-custody Parents

Dr. J..D. Prince, Superintendent

Tupelo Municipal Separate School District
P. O. Office Box 557

Tupelo, Mississippi 38801

Attorney General Allain has received your letter of request dated January 19, 1981, and
has assigned it to me for research and reply. Your inquiry States as follows:

There are instances where divorce courts grant custody of the children to one
parent. We recognize that custody refers to the physical possession of the child by one
parent excluding the other. Often times parents with custody want to keep the other
parent cut off from information about the children. We face a problem in that Federal
records specifically instruct us to allow “parents” to have access to the school records of
their children. The definition of “parent” does not indicate whether or not the parent has
or does not have custody.

Our specific question is, “If a non-custody parent asks to receive copies of
student's report cards or requests to look at the cumulative record folder or desires to
obtain other information relating to the child’s academic progress, are we permitted to
provide such records for the non-custody parent in the absence of a court order
specifically restricting us from showing such records to the non custody parent?”

The family Educational Rights and Privacy Act of 1974 found at 20
USC@1232 (g make no distinction between custody and non-custody parents.

Therefore, if a non-custody parent requests information concerning his child’s
records, the school district would be permitted to provide such records in the absence of a
court order terminating the parental right.

If this office can be of benefit in the future, please do not hesitate to contact us.

ALLAIN, ATTORNEY GENERAL
By Susan L. Runnels, Special Assistant

BILL ALLAIN, ATTORNEY GENERAL
By Susan L. Runnels, Special Assistant Attorney General

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APPENDIX B

STATE CODES

Entry Codes

E1
E2
E3
E4
E5
E6
E7
E8
EQ
R1

First regular enrollment this year

Transfer from another grade in this school

Transfer from another school in this district

Transfer from another public school in Mississippi

Transfer from a nonpublic school in Mississippi

Transfer from another state or country

Transfer within school (same grade)

Transfer from an approved community-based GED program
Transfer from home school

Re-entries of withdrawals

Withdrawal Codes

T1
T2
T3
T4
TS
T6

T8
C1
C2

Transfer to another grade in this school

Transfer to another school in this district

Transfer to another public school in Mississippi
Transfer to a nonpublic school in Mississippi
Transfer to another state or country

Transfer to another room within school (same grade)

Transfer to home school
Completers-High School Graduates (Diploma)
Completers-Other High School Graduates (Certificates/GED)

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Dropouts
01 Physical illness or physical disability

02 Drug and/or alcohol problems

03 Emotional disturbances

04 Behavioral difficulty exclusive of suspension/expulsion
05 Suspended/Expelled

06 Restrained by court action

07 Would/could not keep up with work/was failing

08 Peer pressure

09 Felt! did not belong

10 Disliked school experience

11 Over compulsory attendance age

12 Entered a GED program or an institutional program not primarily educational
13 Lack of parental support/interest

14 Must care for family member

15 Economic reasons

16 Married

17 Pregnant

18 Whereabouts unknown

19 Reason unknown

20 Other (Specify)

Z1 Death of pupil

40

 
